                UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVILLE DIVISION

                                           ) Case No.: 5:06CR41-V
United States of America,                  )
                                           )
              Plaintiff,                   )       ORDER
                                           )
      vs.                                  )
                                           )
Robert Ross Parsons,                       )
                                           )
              Defendant.                   )


      THIS MATTER IS BEFORE THE COURT on the Motion to Join In Motion

of Co-Defendant filed January 5, 2007 by the Defendant, Robert Ross Parsons.

The Court has reviewed the Defendant’s motion carefully and in its discretion will

grant the motion.

      IT IS THEREFORE ORDERED that the Defendant’s Motion to Join In

Motion of Co-Defendant is hereby GRANTED.

      IT IS FURTHER ORDERED that the pretrial motion deadline in the

Defendant’s case is extended to February 1, 2007.



                                     Signed: January 8, 2007




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